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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. 18-20668-CR-MIDDLEBROOKS

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  SUNIL CHOPRA,

        Defendant.
  ___________________________/

                  ORDER ON MOTION FOR PERMISSION TO RELOCATE


         THIS CAUSE comes before the Court upon Defendant’s Motion for Permission to

  Relocate (D.E. #755). Defendant is requesting permission to relocate to Reno, Nevada and

  transfer his location monitored home confinement to the District of Nevada. After reviewing the

  Defendant’s motion, it is

         ORDERED AND ADJUDGED that Defendant’s Motion for Permission to Relocate to

  Reno, Nevada (D.E. #755) is hereby GRANTED. The Defendant’s home confinement with

  electronic monitoring shall be transferred to the District of Nevada.

         DONE AND ORDERED at West Palm Beach, Florida this 17th day of February, 2022.




                                                               Donald M. Middlebrooks
                                                               United States District Judge
  cc:    Counsel of Record
